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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
In re:                                    )
                                          )
       FRANKLIN CALVIN GASKINS, JR.,      )                   Case No. 18-00442
                                          )                   Chapter 7
                  Debtor.                 )
__________________________________________)


                   TRUSTEE’S MOTION TO APPROVE SETTLEMENT

       Comes now Wendell W. Webster, the Chapter 7 Trustee (“Trustee”) for Franklin Calvin

Gaskins, Jr. (“Debtor”), and respectfully moves this Court, pursuant to Rule 9019 of the Federal

Rules of Bankruptcy Procedure, for an order approving a settlement between the Trustee and the

Debtor resolving the estate’s interest in an automobile titled in the Debtor’s name. The settlement

provides terms for payment of the estate’s interest in the vehicle.

       In support of his Motion, the Trustee states as follows:

       1.      The Debtor commenced this case on June 22, 2018 with the filing of a voluntary

petition for relief under Chapter 7 of Title 11 U.S.C. (“Bankruptcy Code’). Case No. 18-00442,

Docket Number (“Doc”) 1 at Page 1 of 52. Wendell W. Webster was appointed to serve as the

Chapter 7 Trustee in this case.

       2.      In his Schedules of Assets & Liabilities, Debtor lists his ownership interest in

a 2015 Jeep Grand Cherokee Ltd. Doc 1 at Page 10 of 52. Debtor estimated the value of the

automobile as $14,794 Id. at Page 10 of 52. He claimed an exemption for a portion of the vehicle’s

value in the amount of $2,575.

     3.        As an alternative to surrendering the vehicle to the Trustee for sale, with the exempt
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amount of $2,575 paid to the Debtor from the proceeds of an estate sale, Debtor offered to pay the

estate the sum of $10,000. He proposed an initial payment in the amount of $7,000.00, and payments

in the amount of $500 per month for six consecutive months.

       4.      Trustee researched the book value of a 2015 Jeep Grand Cherokee and determined

an estimated value of approximately $17,000. In view of Debtor’s claimed exemption and based

upon the mileage of the vehicle, i.e. 55,000 miles as of the date of the petition, the Trustee proposed

a payment to the estate in the amount of $14,000. Subject to Court approval, the Trustee agreed to

accept an initial cash payment of $7,000, with the balance payable in 10 monthly installments of

$700 each.

       5.      The Debtor has made an initial payment of $7,000, which has been deposited into the

estate account, pending a motion to approve the settlement. The settlement is subject to approval

by this Court upon notice to all creditors pursuant to Bankruptcy Rules 9019 and 2002.

       6.      Rule 9019 of the Federal Rules of Bankruptcy Procedure provides, in relevant part,

as follows:

               (a)     Compromise. On motion by the trustee and after notice and
                       hearing, the court may approve a compromise or settlement.
                       Notice shall be given to creditors, the United States Trustee,
                       the debtor and indenture trustees as provided in Rule 2002
                       and to any other entity as the court may direct.

       7.      The Trustee submits that this settlement represents a fair compromise and forms the

basis for the completion of the administration of this case in the best interests of all concerned

parties. The settlement provides an efficient process for the liquidation of the only asset of any

significant value and enables the Trustee to avoid the risks, delay and expense of a formal sale of

the vehicle.


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       WHEREFORE, the Trustee respectfully requests that the Court enter an order in the form of

the attached order, pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure, approving

the settlement and granting such other and further relief as the Court deems just and proper.

                                       Respectfully submitted,

                                       WEBSTER & FREDRICKSON, PLLC

                                        /s/ Wendell W. Webster
                                       Wendell W. Webster, #245696
                                       1775 K Street, N.W.
                                       Suite 600
                                       Washington, D.C. 20006
                                       (202) 659-8510

                                       Trustee, Estate of Franklin Calvin Gaskins, Jr

                              CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of March, 2019, a true and correct copy of the foregoing
Motion to Approve Settlement, and proposed order were mailed by first class mail, postage prepaid,
to the following entities.

Steven H. Greenfeld, Esq.
2600 Tower Oaks Blvd.
Suite 103
Rockville, MD 20852-4281

U.S. Trustee for Region Four
U.S. Trustee’s Office
1725 Duke Street
Suite 650
Alexandria, VA 22314-3489


                                       /s/ Wendell W. Webster
                                       Wendell W. Webster




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